Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 1 of 19




       EXHIBIT 10
                 Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 2 of 19


Mornin, Joe

From:                             TrackingUpdates@fedex.com
Sent:                             Wednesday, November 13, 2019 3:29 PM
To:                               Mornin, Joe
Subject:                          FedEx Shipment 780856123417 Delivered


[External]

______________________________________________________________________
________________________________________________________________________________



This tracking update has been requested by:



Company Name:             Cooley LLP

Name:                Joe Mornin

E‐mail:              jmornin@cooley.com



Message:              PSShip eMail Notification

________________________________________________________________________________




Our records indicate that the following shipment has been delivered:




Reference:                   309101‐2312‐24526

Ship date:                  Nov 9, 2019

Signed for by:                F.RAU UMAT

Delivery location:             FRANKFURT, HE

Delivered to:                 Receptionist/Front Desk
                  Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 3 of 19


Delivery date:                 Wed, 11/13/2019 7:52 am

Service type:                  FedEx International First®

Packaging type:                 FedEx® Envelope

Number of pieces:                   1

Weight:                     1.00 lb.

Special handling/Services               Deliver Weekday

                        Saturday Pickup



Tracking number:            780856123417




Shipper Information            Recipient Information

JOE MORNIN                  GERHARDT SCHMIDT

COOLEY LLP                  WEIL, GOTSHAL MANGES LLP

101 CALIFORNIA STREET               TAUNUSANLAGE 1 (SKYPER)

5TH FLOOR                   FRANKFURT

SAN FRANCISCO                  HE

CA                     DE

US                     60329

94111




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26tracknumbers‐3D780856123417‐26language‐3Den‐26opco‐3DFX‐26clientype‐
3Divother&d=DwIDaQ&c=5vOBDmAB7iEjDDOZLSiuMw&r=E2J86np5PJUEJl8Yl7w1_5LHs4CvMzc7_M7KbbX5FUg&m=BqE
6w2TaywBXFdy5gTGJEAfIh6IzXkJj_W8nBzaa1Q4&s=bkVLiZT9a3ChMaNOTBR3bLduD2MqP7pyZBMBxqDnri0&e=



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Mornin, Joe

From:                             TrackingUpdates@fedex.com
Sent:                             Tuesday, November 12, 2019 12:59 AM
To:                               Mornin, Joe
Subject:                          FedEx Shipment 780856056493 Delivered


[External]

______________________________________________________________________
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This tracking update has been requested by:



Company Name:             Cooley LLP

Name:                Joe Mornin

E‐mail:              jmornin@cooley.com



Message:              PSShip eMail Notification

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Our records indicate that the following shipment has been delivered:




Reference:                   309101‐2312‐24526

Ship date:                  Nov 9, 2019

Signed for by:                J.JEFFS

Delivery location:             LONDON, LO

Delivered to:                 Mailroom
                  Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 6 of 19


Delivery date:                Tue, 11/12/2019 8:54 am

Service type:                 FedEx International First®

Packaging type:                FedEx® Envelope

Number of pieces:                1

Weight:                     1.00 lb.

Special handling/Services            Deliver Weekday

                        Saturday Pickup



Tracking number:            780856056493




Shipper Information           Recipient Information

JOE MORNIN                  STEPHEN PEEL

COOLEY LLP                  NOVALPINA CAPITAL

101 CALIFORNIA STREET            1 BREWERS GREEN

5TH FLOOR                   THE CAXTON BUILDING

SAN FRANCISCO                 LONDON

CA                     LO

US                     GB

94111                   SW1H0RH




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26tracknumbers‐3D780856056493‐26language‐3Den‐26opco‐3DFX‐26clientype‐
3Divother&d=DwIDaQ&c=5vOBDmAB7iEjDDOZLSiuMw&r=E2J86np5PJUEJl8Yl7w1_5LHs4CvMzc7_M7KbbX5FUg&m=WH
vMfQx_qPXA‐e8q3I8e7x4Ke_qlmePX42y2wAO32zc&s=_ahwKgdS5fCZ9vnByk4wDlEvZLAidDOLIDpu1VrL6L4&e=



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Mornin, Joe

From:                             TrackingUpdates@fedex.com
Sent:                             Tuesday, November 12, 2019 12:59 AM
To:                               Mornin, Joe
Subject:                          FedEx Shipment 780856041940 Delivered


[External]

______________________________________________________________________
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This tracking update has been requested by:



Company Name:             Cooley LLP

Name:                Joe Mornin

E‐mail:              jmornin@cooley.com



Message:              PSShip eMail Notification

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Our records indicate that the following shipment has been delivered:




Reference:                   309101‐2312‐24526

Ship date:                  Nov 9, 2019

Signed for by:                J.JEFFS

Delivery location:             LONDON, LO

Delivered to:                 Mailroom
                  Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 9 of 19


Delivery date:                Tue, 11/12/2019 8:54 am

Service type:                 FedEx International First®

Packaging type:                FedEx® Envelope

Number of pieces:                1

Weight:                     1.00 lb.

Special handling/Services            Deliver Weekday

                        Saturday Pickup



Tracking number:            780856041940




Shipper Information           Recipient Information

JOE MORNIN                  STEFAN KOWSKI

COOLEY LLP                  NOVALPINA CAPITAL

101 CALIFORNIA STREET            1 BREWERS GREEN

5TH FLOOR                   THE CAXTON BUILDING

SAN FRANCISCO                 LONDON

CA                     LO

US                     GB

94111                   SW1H0RH




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26tracknumbers‐3D780856041940‐26language‐3Den‐26opco‐3DFX‐26clientype‐
3Divother&d=DwIDaQ&c=5vOBDmAB7iEjDDOZLSiuMw&r=E2J86np5PJUEJl8Yl7w1_5LHs4CvMzc7_M7KbbX5FUg&m=ZVp
kNeufZHiRF27a2RR3ucALgkW1lsv54KVKLxovzDk&s=Qj3ht5GqgCeReAvg‐VpO0XLAgJHXqPyc4it8xuFa6e4&e=



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Mornin, Joe

From:                             TrackingUpdates@fedex.com
Sent:                             Tuesday, November 12, 2019 12:59 AM
To:                               Mornin, Joe
Subject:                          FedEx Shipment 780856099772 Delivered


[External]

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This tracking update has been requested by:



Company Name:             Cooley LLP

Name:                Joe Mornin

E‐mail:              jmornin@cooley.com



Message:              PSShip eMail Notification

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Reference:                   309101‐2312‐24526

Ship date:                  Nov 9, 2019

Signed for by:                J.JEFFS

Delivery location:             LONDON, LO

Delivered to:                 Mailroom
                 Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 12 of 19


Delivery date:                Tue, 11/12/2019 8:54 am

Service type:                 FedEx International First®

Packaging type:                FedEx® Envelope

Number of pieces:                1

Weight:                     1.00 lb.

Special handling/Services            Deliver Weekday

                        Saturday Pickup



Tracking number:            780856099772




Shipper Information           Recipient Information

JOE MORNIN                  GUNTER SCHMID

COOLEY LLP                  NOVALPINA CAPITAL

101 CALIFORNIA STREET            1 BREWERS GREEN

5TH FLOOR                   THE CAXTON BUILDING

SAN FRANCISCO                 LONDON

CA                     LO

US                     GB

94111                   SW1H0RH




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26tracknumbers‐3D780856099772‐26language‐3Den‐26opco‐3DFX‐26clientype‐
3Divother&d=DwIDaQ&c=5vOBDmAB7iEjDDOZLSiuMw&r=E2J86np5PJUEJl8Yl7w1_5LHs4CvMzc7_M7KbbX5FUg&m=C7
NWX4GVBU‐Etx2pHfPc6EMMVeZuQEj0bM‐Akgm06ko&s=agGrJ91pBId1hGOhZ7TW3yQqgrGMjpEFwLocWECtiKM&e=



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Mornin, Joe

From:                             TrackingUpdates@fedex.com
Sent:                             Tuesday, November 12, 2019 12:59 AM
To:                               Mornin, Joe
Subject:                          FedEx Shipment 780856092594 Delivered


[External]

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This tracking update has been requested by:



Company Name:             Cooley LLP

Name:                Joe Mornin

E‐mail:              jmornin@cooley.com



Message:              PSShip eMail Notification

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Our records indicate that the following shipment has been delivered:




Reference:                   309101‐2312‐24526

Ship date:                  Nov 9, 2019

Signed for by:                J.JEFFS

Delivery location:             LONDON, LO

Delivered to:                 Mailroom
                 Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 15 of 19


Delivery date:                Tue, 11/12/2019 8:54 am

Service type:                 FedEx International First®

Packaging type:                FedEx® Envelope

Number of pieces:                1

Weight:                     1.00 lb.

Special handling/Services            Deliver Weekday

                        Saturday Pickup



Tracking number:            780856092594




Shipper Information           Recipient Information

JOE MORNIN                  MICKAEL BETITO

COOLEY LLP                  NOVALPINA CAPITAL

101 CALIFORNIA STREET            1 BREWERS GREEN

5TH FLOOR                   THE CAXTON BUILDING

SAN FRANCISCO                 LONDON

CA                     LO

US                     GB

94111                   SW1H0RH




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26tracknumbers‐3D780856092594‐26language‐3Den‐26opco‐3DFX‐26clientype‐
3Divother&d=DwIDaQ&c=5vOBDmAB7iEjDDOZLSiuMw&r=E2J86np5PJUEJl8Yl7w1_5LHs4CvMzc7_M7KbbX5FUg&m=ldo
LQaqkKWx3MbDVDAotfuHN5eyn4Z76ZSUfA8kAVTs&s=fvSKkJeUszqBTL3egaCI9T9LC75dnZGgWNd6V7Q1KxQ&e=



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Mornin, Joe

From:                             TrackingUpdates@fedex.com
Sent:                             Monday, November 11, 2019 7:09 AM
To:                               Mornin, Joe
Subject:                          FedEx Shipment 780856158514 Delivered

Follow Up Flag:                   FollowUp
Flag Status:                      Completed


[External]

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Company Name:             Cooley LLP

Name:                Joe Mornin

E‐mail:              jmornin@cooley.com



Message:              PSShip eMail Notification

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Reference:                   309101‐2312‐24526

Ship date:                  Nov 9, 2019

Signed for by:                Signature not required
                 Case 4:19-cv-07123-PJH Document 20-13 Filed 02/27/20 Page 18 of 19

Delivery location:                  DEMAREST, NJ

Delivered to:                     Residence

Delivery date:                     Mon, 11/11/2019 10:05 am

Service type:                     FedEx Priority Overnight®

Packaging type:                     FedEx® Envelope

Number of pieces:                    1

Weight:                          1.00 lb.

Special handling/Services                Deliver Weekday

                         Residential Delivery

                         Saturday Pickup

Standard transit:                   11/11/2019 by 10:30 am



Tracking number:                 780856158514




Shipper Information                Recipient Information

Joe Mornin                   Omri Lavie

Cooley LLP                  354 HARDENBURGH AVE

101 California Street             DEMAREST

5th Floor                   NJ

San Francisco                US

CA                      07627

US

94111
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26tracknumbers‐3D780856158514‐26language‐3Den‐26opco‐3DFX‐26clientype‐
3Divother&d=DwIDaQ&c=5vOBDmAB7iEjDDOZLSiuMw&r=E2J86np5PJUEJl8Yl7w1_5LHs4CvMzc7_M7KbbX5FUg&m=zjU
FYcJ_6Olh‐tfDVk4wyhCBeBV6VSmEULox_YUpLyY&s=TfsGzRQp‐qKMidfnNWLcQdebCfDmsnnt‐05zXHlJ_xU&e=



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